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                IN THE UNITED STATES DISTRICT COURT FOR THE
               NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

SUNIL BHATIA, individually, and                     )
derivatively on behalf of MEDVALUE                  )
OFFSHORE SOLUTIONS, INC.,                           )
                                                    )
        Plaintiff,                                  )   Case No. 18-cv-02387
                                                    )
                v.                                  )   Judge Robert M. Dow Jr.
                                                    )
RAJU VASWANI, an individual,                        )   Magistrate Judge Beth W. Jantz
KARAN VASWANI, an individual, and                   )
ASSIVO, INC., an Illinois Corporation,              )
                                                    )
        Defendants.                                 )

                                    JOINT STATUS REPORT
        Sunil Bhatia (herein “Plaintiff”) and Varsha Bhatia (herein “Third-Party Defendant”) by

their attorneys, Regas, Frezados & Dallas LLP and Patterson Law Firm LLC, Raju Vaswani

(herein “Raju” and “Third-Party Plaintiff”), Karan Vaswani (herein “Karan”) and Assivo, Inc.

(herein “Assivo”) (Raju, Karan and Assivo are herein referred to as “Defendants”), by their

attorneys, Neal, Gerber & Eisenberg LLP, for their Joint Status Report, state as follows:

        The Court ordered the parties to prepare a joint status report reciting: (1) whether the parties

have agreed to settle, and if not, (2) the parties’ additional efforts since 6/16/21 to meet and confer

on their numerous outstanding discovery disputes, and (3) in list form (so the Court can easily

follow it), any progress on and/or status of outstanding discovery issues. This supplemental report

may not contain any argument. (Doc. #: 340).

I.      Update Regarding Settlement Efforts

        On Wednesday, June 16, 2021, Plaintiff Sunil Bhatia, Defendant Raju Vaswani, and each

of their counsel held a 6.5-hour, in-person settlement conference. Messrs. Bhatia and Vaswani,

who have continued to operate MedValue jointly as a two-man company throughout the pendency



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of this litigation, explored various options to resolve the dispute and move forward with their

respective business opportunities. The parties reached an understanding at the conference that the

best option for an agreed resolution would be for Messrs. Bhatia and Vaswani to part ways, with

one buying the other’s shares in MedValue. The parties made constructive progress at the

conference to jointly develop a list of restrictions that would apply to the eventual seller, as well

as to Defendants Karan Vaswani and Assivo, Inc. (for most of the restrictions). Mr. Bhatia and

Mr. Raju Vaswani each took two days to prepare their respective proposals to (i) sell their shares

in MedValue to the other and (ii) buy the other’s shares. The parties exchanged these proposals

through counsel on Friday, June 18. Counsel for the parties also held multiple calls that day to

discuss these proposals.

         The parties have not yet agreed to settle and their monetary figures are quite far apart;

however, the parties anticipate that further settlement efforts will take place. Defendants believe

that a further settlement conference with the Court would greatly assist the parties to narrow this

gap and reach a resolution, and thus Defendants respectfully request that the Court set a date in

July 2021 for a settlement conference led by Judge Jantz. Plaintiff’s counsel does not believe that

settlement is imminent and does not agree to delay discovery while the parties continue to pursue

settlement. Plaintiff intends to pursue settlement further, but is not willing to schedule or

participate in a settlement conference at this time. While much of the foregoing two paragraphs is

Defendants’ advocacy in support of their request for a settlement conference, Plaintiff does not

dispute the salient facts and does not feel that it is productive or necessary to debate the numerous

characterizations.

II.      Parties’ Additional Efforts to Meet and Confer on Discovery Issues

         The parties exchanged multiple written communications during the week of June 14, and

counsel met and conferred by telephone on June 18 and June 21 regarding their outstanding issues.


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III.   Status of Outstanding Discovery Issues

       A.      Defendants’ Expedited Discovery Requests

        1.      Plaintiff has agreed to respond to Defendants’ Expedited Discovery Requests for
Admission to Plaintiff (Nos. 1-20) and to Request Nos. 1-7 and 9-11 in Defendants’ Expedited
Discovery Requests for Production to Plaintiff (Nos. 1-13). Plaintiff has further agreed not to
withhold any information or documents responsive to these requests based on any objections that
Plaintiff has not already raised. Defendants note that Plaintiff has not raised any objections to
these requests.

        2.      With respect to Defendants’ Expedited RFP No. 8, Plaintiff is willing to agree to
make searches for communications concerning “COVID” and “pandemic.” As set out in the
June 14 JSR, Defendants are willing to accept Plaintiff’s proposal, provided that Plaintiff confirm
in writing that the clients (Clients A, B, and C) that Plaintiff alleges in his brief “were either
substantially reducing or terminated their relationships with MedValue” (Dkt. 317 at 4) did not do
so because of the actions by Defendants that Plaintiff alleges create liability in this case, but rather
because of these clients’ own unrelated business issues. Plaintiff rejects Defendants’ proposal.

        3.      With respect to Defendants’ Expedited RFP Nos. 12 and 13, Plaintiff is willing to
agree to search for responsive documents not previously produced that fall within the scope of
those requests and to produce such documents. Defendants are willing to accept Plaintiff’s
proposal, provided Plaintiff confirm that Plaintiff’s search and production will include all
documents that form the factual basis for Plaintiff’s belief (and request in the Proposed Order that
Plaintiff filed with the Court in support of his Motion for Preliminary Injunction) that ousting
Defendant Raju Vaswani as MedValue’s CEO and prohibiting Mr. Vaswani’s involvement in any
aspect of his business while this litigation proceeds would increase MedValue’s revenues, profits,
or share value. Plaintiff rejects Defendants’ proposal.

        4.     With respect to Defendants’ Expedited Interrogatory No. 1 to Plaintiff, Plaintiff has
objected that the interrogatory request seeks identification of all documents responsive to the
RFPs. Plaintiff is willing to agree to identify any new documents produced in response to these
requests, but does not agree to list the bates ranges for the 2,154 pages of documents previously
produced in this matter in relation to each new expedited RFP request. Defendants agree to and
accept this proposal.

       B.      Plaintiff’s Expedited Discovery Requests

        1.     If expedited discovery proceeds, Defendants agree to provide responses to
Plaintiff’s Expedited RFP Nos. 9-11, which only seek documents from November 1, 2020
onwards.

        2.      With respect to Plaintiff’s other Expedited RFPs, if expedited discovery proceeds,
Defendants agree to produce responsive documents created during and after November 2020 (i.e.,
within the six months preceding and also following Plaintiff’s filing of the Motion for Preliminary
Injunction), to the extent any exist and are not already in Plaintiff’s possession (such as documents
stored in the MedValue email archive that Plaintiff Sunil Bhatia controls for the company).



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       3.     Defendants still disagree that broad expedited discovery should proceed, and
Defendants also object to Plaintiff’s contention that documents which precede November 1, 2020
are “necessary to brief the preliminary injunction motion for the District Judge” (Dkt. 340).

        4.     Plaintiff seeks production to be in native format. Defendants agree to produce
documents in PDF and/or TIFF as both parties have done throughout this litigation, and will
produce in native format where doing so is most practical (i.e., for Excel spreadsheets or other file
types that do not print well to Bates-numbered pages).

       5.    With respect to request 1, Plaintiff requests information for the period of June 1,
2017 to December 31, 2017. Defendants do not agree to provide information for this time period.

       6.      With respect to request 2, Plaintiff seeks information for the period July 22, 2017
to August 22, 2017, December 1, 2017 to February 1, 2018. Defendants do not agree to provide
information for this time period.

      7.      With respect to request 3, Plaintiff seeks information for the period June 1, 2020 to
October 30, 2020. Defendants do not agree to provide information for this time period.

        8.       With respect to request 4, Plaintiff seeks this document in native format, with the
date of first transaction and an explanation of, where individuals are listed, whether that individual
is in fact the client, or if not, who the client entity is. Defendants have already provided much of
this information in response to other requests and do not agree to provide this information again.

       9.      With respect to request 6, Plaintiff stands on its request as issued. Defendants do
not agree to provide this information.

       10.      With respect to requests 7, 8 and 13, Plaintiff agrees with the Defendants that these
requests result in some duplication and withdraws the requests to the extent that they do duplicate
each other. Plaintiff requests documents for the period June 1, 2019 to December 31, 2019.
Defendants do not agree to provide information for this time period.

     11.     With respect to request 12, Plaintiff seeks documents in the period June 1, 2019 to
December 31, 2019. Defendants do not agree to provide information for this time period.

       C.      Other Issues Regarding Expedited Discovery

       If expedited discovery proceeds, Defendants respectfully request that the Court only allow

limited written discovery and not allow depositions. Broader expedited discovery is unlikely to

be necessary to brief the preliminary injunction motion, is likely to be duplicative of other

discovery in the case, and would force the parties to incur substantial cost. To prevent undue

burden, if depositions are permitted to occur in expedited discovery, Defendants request that the

depositions be limited to 90 minutes each and cover only the timeframe and substance relevant to


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the preliminary injunction motion. Otherwise, if any party wishes to take a broader or longer

deposition, such deposition must count as that party’s sole deposition for each applicable witness

pursuant to Fed. R. Civ. P. 30(d)(1) for general discovery. Plaintiff disagrees with this proposal.

       Also, the parties respectfully stand on each of their proposed schedules for expedited

discovery set forth in the June 14 JSR. (Dkt. 339 at 10-11.)

       D.      General Discovery

       Plaintiff has provided a written correspondence to Defendants identifying a subset of

narrowed discovery requests. Defendants agree to endeavor to provide a written response to this

correspondence by June 25, in which Defendants intend to identify the subset of narrowed

requests, or parts thereof, to which they will agree to respond. The parties will then meet and

confer by June 29 to discuss any remaining disputes that may exist. Defendants intend to provide

a similar a letter to Plaintiff and to Third-Party Defendant Varsha Bhatia by June 23, setting forth

a subset of narrowed discovery requests for which Defendants believe their responses are deficient

and/or their objections are inappropriate. Once Plaintiff and Third-Party Defendant have received

this letter, the parties will work to agree on a timetable for responding to this letter and then to

meet and confer. Based on the progress of this process, the parties will later determine how to

address the other outstanding discovery issues.




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Respectfully submitted,


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                                        Dated: June 21, 2021

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                                CERTIFICATE OF SERVICE


       I hereby certify that, on June 21, 2021, I filed electronically the foregoing with the Clerk

of the Court using the CM/ECF system. Notice of this filing is sent to the parties by operation

of the Court’s electronic filing system. Parties may access this filing through the Court’s system.




                                                      /s/ Ian Block
